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                                             EDUCATIONAL COMMISSION FOR                                                                   3624 Market Street
                                             FOREIGN MEDICAL GRADUATES                                                                    Philadelphia, PA 19104-2685 USA
                                                                                                                                          215-386-5900 | 215-386-9767 Fax
                                                                                                                                          www.ecfmg.org

                            AFFIDAVIT ATTESTING TO MEDICAL SCHOOL ATTENDANCE
   I,
                                ECFMG Applicant Name                                                                      ECFMG ID Number
hereby declare, under penalty of perjury under the laws of all applicable jurisdictions, including the United States of America, and under penalty of a finding of irregular
behavior under applicable ECFMG rules and regulations, that:
  Section 1: AttendaODF%BUFTBU6OJWFSTJUZPG4DJFODF "SUT5FDIOPMPHZ 64"5 'BDVMUZPG.FEJDJOF
        *BUUFOEFE6OJWFSTJUZPG4DJFODF "SUT5FDIOPMPHZ 64"5 'BDVMUZPG.FEJDJOFMPDBUFEJO.POUTFSSBUEVSJOHUIFGPMMPXJOHEBUFT

                                                      From (Month/Year)                                  To (Month/Year)




  Section 2: Dates and Location of Basic Sciences Courses Taken in .POUTFSSBU
     *XBTQIZTJDBMMZQSFTFOUBOEUPPLCBTJDTDJFODFTDPVSTFTJO.POUTFSSBU during the following dates and at the following
  location (If you did not complete your basic sciences course work at a facility located in .POUTFSSBU, complete Section 3):

                                              Dates of Basic Sciences Courses Taken while Physically Located In .POUTFSSBU
               (Do not include dates if you were not physically present in .POUTFSSBU. Do not include breaks in time where you were not physically located in
                  .POUTFSSBU. Only list the beginning and end date for when you were physically present in .POUTFSSBU attending basic sciences courses.)
                                                                                                                                  Address of 'acility 8here
                       From (Month/Year)                                         To (Month/Year)
                                                                                                                               Basic Sciences Classes Were Held




  While I took my basic sciences classes in .POUTFSSBU, I resided at the following location(s):
                                                                                                                 Residence Dates in .POUTFSSBU
                              Residence Address in .POUTFSSBU
                                                                                                From (Month/Year)                             To (Month/Year)




  I am attaching the following documentation to demonstrate my physical presence in .POUTFSSBU during the time I was taking
  basic sciences classes at 6OJWFSTJUZPG4DJFODF "SUT5FDIOPMPHZ 64"5 'BDVMUZPG.FEJDJOF. (check all that apply):

                My passport, showing travel to .POUTFSSBU and visas for .POUTFSSBU                         My lease, utility bills, etc. for my housing

                My Birline tickets/boarding passes documenting travel to .POUTFSSBU                        Other (please specify)

  Section 3: TO BE COMPLETED ONLY IF YOU CANNOT COMPLETE SECTION 2
        I did not take basic sciences courses at a facility located in .POUTFSSBUbecause:




  I also declare that this information is comprehensive, complete and accurate as of the date of my signature.




  Signature of Applicant                                                                                                             (day)         (month)        (year)
                                                                             Certification by Official
  I certify that on the date set forth below the individual named above did appear personally before me and that the statements in this document are subscribed
  and sworn to before me by the individual on this          day, of the month of         in the year          .



  Signature of Notary Public                                                                                                                      Official Seal


  Printed Name of Offical
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                                                                                     www.ecfmg.org

VIA EMAIL: swatemd@aol.com

                                                     November 21, 2018


Mr. Tommy Swate
Attorney at Law
403 Wild Plum
Houston, Texas 77013

Dear Mr. Swate:

       Thank you for the email confirmation on November 16, 2018 that you received the
complete file that will be reviewed by the ECFMG Medical Education Credentials Committee
(“ECFMG Committee”) in the matter related to Dr. Orien Tulp. As previously communicated, Dr.
Tulp is scheduled to make a personal appearance (accompanied by you and Mr. Reil, his
attorneys) before the ECFMG Committee on Wednesday, November 28, 2018 at 9:00 AM at the
Rittenhouse Hotel, 210 West Rittenhouse Square, Philadelphia, PA 19103. Please arrive with
Dr. Tulp at 8:45 AM.

        I am writing in response to your letter dated November 13, 2018, which is rife with
misstatements. There are two important issues of concern which require clarification at this
time: (1) ECFMG’s authority to conduct its activities, including the ECFMG Certification
program and making allegations of irregular behavior pertaining to Dr. Tulp; and (2) the “activity
of the ECFMG in regards to the USAT” related to ECFMG’s update of USAT’s World Directory
of Medical Schools ECFMG Sponsor Note.

Concern (1): ECFMG’s Authority to Conduct the ECFMG Certification Program &
Irregular Behavior

       In your letter, you request ECFMG to “identify by what legal authority [ECFMG] has to
claim and report that Dr. Tulp - engaged in ‘irregular behavior’.” For some additional context
regarding ECFMG’s responsibility and its mission to protect the public, ECFMG (formally the
Evaluation Service for Foreign Medical Graduates) was established as a private, non-profit
organization in 1956 by the Federation of State Medical Boards (FSMB), the American Hospital
Association (AHA), the Association of American Medical Colleges (AAMC), and the American
Medical Association (AMA). It was established to validate medical credentials, assess basic
medical knowledge and determine English language proficiency for graduates of international
medical schools. As you may already know, medical licensing authorities in the United States
require that international medical graduates (IMGs) be certified by ECFMG, among other
requirements, to obtain an unrestricted license to practice medicine.

        In support of its mission to protect the public, individuals that have or have attempted to
subvert ECFMG’s policies and procedures are subject to ECFMG’s Policies and Procedures on
Irregular Behavior. These were previously shared with you and are also available on ECFMG’s
web-site at https://www.ecfmg.org/programs/irregular-behavior.html. As communicated in our
prior correspondence, it is under these policies that Dr. Tulp is charged with irregular behavior
for providing false information to ECFMG. I trust that the files you received on November 16
help clarify the charges and evidence of irregular behavior.



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Mr. Tommy Swate
November 21, 2018
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Concern (2): ECFMG’s Update to USAT’s World Directory ECFMG Sponsor Note

      As previously communicated to you, ECFMG’s update to USAT’s World Directory
Sponsor note is not related to a charge of irregular behavior for Dr. Tulp.

        ECFMG updated its sponsor note on October 18, 2018 because ECFMG learned that
USAT was operating a medical school campus located in the United States. Before taking this
action, ECFMG had requested USAT to provide documentation from the appropriate United
States authorities that USAT is authorized to operate its medical school campuses and
educational programs in the United States.    To date, USAT has failed to deliver such
documentation.

       It appears from the information gathered from you (e.g. your statement that USAT has
conducted classes “in locations other than Montserrat for 15 years without incident…”) and
corroborated by USAT students that USAT has primarily operated and conducted its
educational activities in the United States. Based on this information, USAT may not even be
an international medical school. However, as previously communicated, if you are able to
provide documentation from the appropriate United States authorities that USAT is authorized to
operate its medical school branch campuses in the United States, ECFMG will consider this
information.

       Also, in your letter dated November 13, 2018 you state “ECFMG has taken the position
that ECFMG has the right to accredit a medical school.” We must clarify for you that ECFMG is
not an accrediting agency and does not purport to accredit international medical schools.

     Please contact me if you have any additional questions regarding our ECFMG
Committee meeting scheduled next week.


                                                          Sincerely,




                                                          Ms. Kara Corrado, JD
                                                          Vice President for Operations
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PERSONAL AND CONFIDENTIAL
VIA EMAIL: o.tulp@usat.edu

                                                                                October 18, 2018


Dr. Orien L. Tulp
Professor and President
University of Science, Arts & Technology (USAT) Faculty of Medicine
Main Campus
S. Mayfield Estate Drive
Olveston
MONTSERRAT

Dear Dr. Tulp:

       I am writing to advise you of the allegation that you, individually and in your
capacity as an official of the University of Science, Arts & Technology (USAT) Faculty of
Medicine, Montserrat, engaged in irregular behavior in connection with providing false
information to ECFMG. Specifically, you provided false information to ECFMG when
you (1) notified ECFMG that USAT does not operate a branch campus in Miami, Florida
and (2) certified to the attendance dates of several USAT students and graduates when
ECFMG has information that these students were not attending USAT during some of
the time periods to which you certified. The details of ECFMG’s allegation are set forth
below.

Details of Allegation
False Information Regarding U.S. Branch Campuses
         On August 21, 2018, ECFMG advised you that we had become aware that USAT
was operating a “branch” campus in Miami, Florida. We advised you that in order for
students and graduates of an international medical school, such as USAT, to have
eligibility to apply for ECFMG Certification, ECFMG policy requires confirmation from
the appropriate government authority in the branch campus country that the branch
campus is authorized to operate as a medical school in such branch campus country.
Therefore, we requested that USAT provide documentation from the United States
Department of Education and/or the Florida Department of Education confirming that
USAT’s Miami branch campus is authorized to operate as a medical school in the
United States. We indicated that this documentation should cover the whole time period
that the USAT Miami branch campus has been in operation.

      In response to ECFMG’s August 21, 2018 letter, you replied:

      “This is incorrect information. The Miami location is an information and testing
      site only, where a pre-usmle examination [an NBME] may administered, and an
      Orientation for new students is conducted prior to their traveling to the


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Dr. Orien L. Tulp
October 18, 2018
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       Caribbean.. It is NOT a campus. Our ONLY Campus is located in Olveston,
       Montserrat, British West Indies.

       Actually, recall that Montserrat is a volcanic Island, and the license issued to
       USAT in September, 2003 DOES actually permit the establishment of off-campus
       lecture and administrative sites as needed. USAT has students on island on a
       year round basis since its origination.” [emphasis in original]

       After receiving your reply, ECFMG received information that USAT was also
providing medical education lectures not only at its Miami site, but also at sites in
Tampa, Florida, Dallas, Texas, and Puerto Rico. As a result and to ensure that
information regarding international medical schools and their students provided to
ECFMG complies with ECFMG policies and requirements, ECFMG notified you that
ECFMG would require USAT students and graduates to complete an affidavit, attesting
to the accuracy of the medical school information provided to ECFMG.

       In response to ECFMG’s affidavit request, many USAT students and graduates
have certified that they have not completed any courses on Montserrat, but instead
completed courses on site in the United States at the direction of USAT officials due to
volcanic and hurricane activity on Montserrat. ECFMG also received a copy of the “2018
University of Science, Arts and Technology Lecture Conference Schedule” which shows
lectures occurring in Florida and Texas. We note that there are no lectures scheduled
for Montserrat. We also note that graduation occurs in Miami, Florida.

        This directly conflicts with the information that you provided, i.e. that “the Miami
location is an information and testing site only, where a pre-usmle examination [an
NBME] may administered, and an Orientation for new students is conducted prior to
their traveling to the Caribbean.. It is NOT a campus. Our ONLY Campus is located in
Olveston, Montserrat, British West Indies.” [emphasis in original]. Further, though
USAT’s agreement with the Montserrat government indicates that USAT “agrees to
maintain operations in Monserrat with regard to its Medical and other programmes for
the duration of the agreement unless unforeseen circumstances and/or natural disaster
arise that the MCL-USAT may choose to relocate to an area of convenience for the
MCL-USAT for a time period to be determined by MCL-USAT. This would not effect
any permission granted to MCL-USAT by the government of Montserrat,” ECFMG has
no record of receipt of any official communication from you or any other USAT official
indicating that USAT relocated due to volcanic activity, from 2003 until present.

       In ECFMG’s September 15, 2017 announcement “Relocation of Caribbean
Medical Schools Impacted by Hurricane Irma” ECFMG advised: “Schools that have
relocated or plan to relocate their operations to the United States or elsewhere as a
result of Hurricane Irma should provide ECFMG with: a) a formal notice to ECFMG that
includes the address of where the school is temporarily located and the expected date
of when the school will return to its home country, b) copies of approvals from the home
country governmental authorities, and c) copies of approvals from the accrediting
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Dr. Orien L. Tulp
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agency, if any. This information should be e-mailed to Medical Education Resources
at medschoolreview@ecfmg.org, along with any questions or comments.” ECFMG has
no record of receipt of any correspondence from you or any other USAT official that
USAT was relocating to the United States due to Hurricane Irma, or any other hurricane.

Certification of False Information Regarding Students Attendance Dates
       During the course of the investigation into USAT’s branch campuses, ECFMG
has discovered information that indicates that you provided false information to ECFMG
regarding the attendance dates of some of your students on some of their applications
for United States Medical Licensing Examinations (USMLE). Specifically, you certified
that students were attending USAT during time periods which they were not actually
attending USAT.

        It is ECFMG’s usual practice to consider any action or attempted actions by any
person that would or could subvert the processes, programs or services of ECFMG to
be irregular behavior. See Section A.1. of the enclosed ECFMG Medical Education
Credentials Committee Policies and Procedures. Examples of irregular behavior include
the provision of false information or falsified credentials to ECFMG.          ECFMG
investigates and considers allegations of irregular behavior in order to protect the
integrity of its processes, programs, and services. The ECFMG Committee can impose
serious sanctions if it finds irregular behavior has been committed.

      The review into the matters described in this letter are ongoing. ECFMG
reserves the right to amend or make additional allegations of irregular behavior, in
accordance with its policies and procedures, should ECFMG obtain information that
supports such amendment or additional allegations.

ECFMG Medical Education Credentials Committee Review of this Allegation

      This matter will be referred to the ECFMG Committee for review at its next
scheduled meeting on November 28, 2018 in Philadelphia. The ECFMG Committee will
consider the information presented and take action in accordance with the enclosed
ECFMG Medical Education Credentials Committee Policies and Procedures.

        You will have the opportunity to appear personally before the ECFMG
Committee, accompanied by legal counsel, if you so wish. Please indicate in your
response if you wish to appear personally before the ECFMG Committee in your
individual and/or official capacities. If you do wish to make a personal appearance, I will
notify you of the particular time and location of the meeting.

    The following documents will be included in the Agenda for the ECFMG
Committee’s review:

     x    ECFMG’s August 21, 2018 letter to you and your August 21, 2018 e-mail reply;
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Dr. Orien L. Tulp
October 18, 2018
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     x    ECFMG’s September 14, 2018 letter to you, including a copy of the affidavit
          sent to USAT students on September 14, 2018;
     x    Copy of “2018 University of Science, Arts and Technology Lecture Conference
          Schedule”
     x    September 15, 2017 ECFMG Announcement “Relocation of Caribbean Medical
          Schools Impacted by Hurricane Irma”;
     x    Copy of “An Agreement Between the Government of Montserrat and Medical
          College of London (MCL) University of Science, Arts, and Technology
          (Montserrat) LTD. (USAT)”
     x    Affidavits completed by USAT students; and
     x    This letter.

      Copies of these documents, with the exception of the completed affidavits by
students, are enclosed.

      Please provide a response to ECFMG by November 1, 2018. In your
response, please note whether you wish to make a personal appearance before the
ECFMG Committee. All documents should be submitted to Ms. Kara Corrado, Vice
President for Operations, at the address above or via e-mail at kcorrado@ecfmg.org. If
you have any questions, please do not hesitate to call me at (215) 883-7318.

                                              Sincerely,




                                              Lisa L. Cover
                                              Senior Vice President for Business
                                              Development and Operations
Encl: As noted.
